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KEle AGEE ,

Steffen G. Schreiner. CJA
Defense Attorney

369 North Main Street
Memphis, TN 38103

 

JUDGMENT IN A CR|M|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 1 of the indictment on |Vlarch 10, 2005. Accordingly,
the court has adjudicated that the defendant is guilty of the following offense(s):

Date Count
Tit|e & Section MI.MQIMQ Offense NML(§)
Conc|uded
18 U.S.C. § 1708 Mai| Theft 02/23/2003 1

The defendant is sentenced as provided in the following pages of this judgment The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the Mandatory
Victims Restitution Act of 1996.

Counts 2 and 3 are dismissed on the motion of the United States.
iT lS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district

within 30 days of any change of name, residence, or mailing address until aii fines, restitution, costs
and special assessments imposed by this judgment are fully paid.

Defendant's Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant's Date of Birth: 10108/1982 Juiy 8, 2005
Deft’s U.S. |V|arshal No.: 19596-076

Defendant's |Viai|ing Address:
208 Ma|iard Point Road, Lot 54

Atoka. TN 38004 B“£) opt aga
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Juiy l a , 2005

 

This document entered on the docket sheet in compliance
with Flu|e 55 andior 32(b) FRCrP on “ " (

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PROBAT|ON
The defendant is hereby placed on probation for a term of 4 Years.

Whiie on probation, the defendant shall not commit another federal, state, or local
crime and shall not illegally possess a firearm, ammunition, destructive device, or
dangerous weapons. The defendant shall also comply with the standard conditions that
have been adopted by this court (set forth below). lf this judgment imposes a fine or a
restitution obligation, it shall be a condition of probation that the defendant pay any such file
or restitution.

The defendant shall refrain from any unlawful use of a controlled substance. The
defendant shall submit to one drug test within 15 days of release from placement on
probation and at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|SION

1 . The defendant shall not leave thejudicial district without the permission of the court or probation officer;

2. The defendant shall report to the probation ofhcer as directed by the court or probation ofhcer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful ali inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schoolingl training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
empioyment;
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use.

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation ocher to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally sold, used,
distributedl or administered;

8. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

10. The defendant shall notify the probation ofhcer within 72 hours of being arrested or questioned by a
law enforcement ofticer;

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11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendant's criminal record or personal history or characteristicsr and shall permit
the probation officer to make such notihcations and to confirm the defendant's compliance with such
notification requirement

13. if this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release

that the defendant pay any such Hne or restitution in accordance with the Schedu|e of Payments set
forth in the Criminal Monetary Penalties sheet of this judgment

ADD|T|ONAL COND|T|ONS OF PROBAT|ON

The defendant shall also comply with the following additional conditions of probation:

1. The defendant shall submit to drug testing and drug treatment programs as directed by the
Probation Officer.

2. The defendant shall submit to mental health testing and mental health treatment programs
as directed by the Probation Ofticer.

3. The defendant shall make full financial disclosure.

4. The defendant shall cooperate with DNA collection as directed by the Probation Ofiicer.

CR|M|NAL MONETARY PENALT|ES

The defendant shall paythe following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedu|e of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). All of the payment options in the Schedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(9).

Total Assessment Total Fine Total Restitution
$100.00 $1,000.00 $50.00

The Special Assessment shall be due immediateiy.

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FINE
An interest-bearing fine in the amount of $ 1,000.00 is imposed.
REST|TUT|ON

Restitution in the amount of $50.00 is hereby ordered. The defendant shall make restitution
to the following victims in the amounts listed below.

 

Priority
_ Total Amount of Order
Name of pa ee Amount Restitution Ordered or
___Y_ of Loss Percentage
of Payment

Augustin B. Arteaga $50.00 $50.00

SCHEDULE OF PAYMENTS

Having assessed the defendants ability to pay, payment of the total criminal monetary penalties
shall be due as follows:

E. Special instructions regarding the payment of criminal monetary penalties:

The defendant shall pay the fine imposed in regular monthly installments of not less
than 10% of gross monthly income. Additiona|lyl the fine imposed is interest-
bearing.

Un|ess the court has expressly ordered otherwise in the special instructions above, if this judgment
imposes a period of imprisonment payment of criminal monetary penalties shall be due during the
period of imprisonment All criminal monetary penalties, except those payments made through the
Federal Bureau of Prisons’ inmate Financial Responsibility Program, are made to the clerk of the
court, unless otherwise directed by the court, the probation ofticer, or the United States attomey.

The defendant shall receive credit for all payments previously made toward any criminal monetary
penalties imposed.

isTRIC COURT - WESTERN DSRTCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 55 in
ease 2:04-CR-20086 Was distributed by faX, mail, or direct printing on
July ]4, 2005 to the parties listed.

 

 

Steffen G. Sehreiner

LAW OFFICE OF STEFFEN G. SCHREINER
369 N. Main

Memphis7 TN 38103

Valeria Rae Oliver

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable J on MeCalla
US DISTRICT COURT

